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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                             )
 In re:                                                      )    Chapter 11
                                                             )
                                    1
 CANDY CLUB, LLC, et al.,                                    )    Case No. 23-60048 (CML)
                                        Debtors.             )    (Jointly Administered)
                                                             )

  SUMMARY COVER SHEET TO THE FIRST INTERIM FEE APPLICATION OF
JACKSON WALKER LLP AS COUNSEL TO THE DEBTORS FOR THE FEE PERIOD
           FROM JULY 27, 2023 THROUGH OCTOBER 31, 2023

 Name of Applicant:                                                         Jackson Walker LLP
 Applicant’s Role in Case:                                                Counsel to the Debtors
 Docket No. of Employment Order(s):                                            Docket No. 179
 Interim Application (X)          No. 1
                                                                                 First Interim
 Final Application ( )
                                                                 Beginning Date                     End Date
 Time period covered by this Application for
 which interim compensation has not                               July 27, 2023                 October 31, 2023
 previously been awarded:
 Were the services provided necessary to the administration of or beneficial at the time rendered
 toward the completion of the case? Yes.
 Were the services performed in a reasonable amount of time commensurate with the complexity,
 importance and nature of the issues addressed? Yes.
 Is the requested compensation reasonable based on the customary compensation charged by
 comparably skilled practitioners in other non-bankruptcy cases? Yes.
 Do expense reimbursements represent actual and necessary expenses incurred? Yes.
              Compensation Breakdown for Time Period Covered by this Application
 Total professional fees requested in this Application:                                                 $363,329.50
 Total professional hours covered by this Application:                                                             543

1        The Debtors (with the last four digits of the Debtor’s federal tax identification number) in these chapter 11
cases are: Candy Club, LLC (8533), Candy Club Holding, Inc. (5377), Candy Club Acquisition, LLC (9010), and
Candy Club Investment, LLC (None). The Debtors’ service address is 10736 Jefferson Blvd. #325, Culver City, CA
90230.
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Average hourly rate for professionals:                                                    $669.12
Total paraprofessional fees requested in this Application:                              $7,999.00
Total paraprofessional hours covered by this Application:                                     32.8
Average hourly rate for paraprofessionals:                                                $243.87
Total fees requested in this Application:                                             $371,360.50
Total expense reimbursements requested in this Application:                             $4,828.85
Total fees and expenses requested in this Application:                                $376,189.35
Total fees and expenses awarded in all prior Applications:                                     N/A
Plan Status: The Debtors have now negotiated a fully consensual plan of reorganization. That
draft plan and disclosure statement has now been circulated to all parties for comment. The
Debtors hope to have the plan filed in the next week.
Primary Benefits: Negotiated consensual final DIP order with key stakeholders, settled with
various constituents to pave a path towards consensual confirmation, filed schedules and
statements, and enabled the company to meet its liquidity needs and to continue as a going concern.




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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
                                    1
 CANDY CLUB, LLC, et al.,                                     )   Case No. 23-60048 (CML)
                                                              )
                                        Debtors.              )   (Jointly Administered)
                                                              )

                 FIRST INTERIM FEE APPLICATION OF
 JACKSON WALKER LLP COUNSEL TO THE DEBTORS, FOR ALLOWANCE AND
   PAYMENT OF FEES AND EXPENSES FOR THE PERIOD FROM JULY 27, 2023
                     THROUGH OCTOBER 31, 2023

          If you object to the relief requested, you must respond in writing. Unless
          otherwise directed by the Court, you must file your response electronically at
          https://ecf.txsb.uscourts.gov/ within twenty-one days from the date this
          Application was filed. If you do not have electronic filing privileges, you must
          file a written objection that is actually received by the clerk within twenty-one
          days from the date this Application was filed. Otherwise, the Court may treat
          the pleading as unopposed and grant the relief requested.

          Jackson Walker LLP (“JW”), counsel to the debtors and debtors in possession (collectively,

the “Debtors”), hereby submits its First Interim Fee Application of Jackson Walker LLP Counsel

to the Debtors for Allowance and Payment of Fees and Expenses for the Period From July 27,

2023 Through October 31, 2023 (the “Application”) for interim allowance of (a) compensation for

professional services provided by JW in the amount of $371,360.50 for the period from July 27,

2023 through October 31, 2023 (the “Application Period”), and (b) reimbursement of actual and

necessary expenses in the amount of $4,828.85 that JW incurred during the Application Period.




1        The Debtors (with the last four digits of the Debtor’s federal tax identification number) in these chapter 11
cases are: Candy Club, LLC (8533), Candy Club Holding, Inc. (5377), Candy Club Acquisition, LLC (9010), and
Candy Club Investment, LLC (None). The Debtors’ service address is 10736 Jefferson Blvd. #325, Culver City, CA
90230.


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         1.     In support of this Application, JW submits its detailed time entries, attached hereto

as Exhibit A, which provide a detailed record of fees as counsel for the Application Period.

         2.     Although every effort has been made to include all fees and expenses incurred

during the Application Period, some fees and expenses might not be included in this Application

due to delays caused by accounting and processing during the Application Period. JW reserves

the right to make further application to this Court for allowance of such fees and expenses not

included herein. Subsequent fee applications will be filed in accordance with title 11 of the United

States Code, the Federal Rules of Bankruptcy Procedure, the Bankruptcy Local Rules for the

Southern District of Texas, and the Procedures for Complex Cases in the Southern District of

Texas.

         3.     JW requests that this Court enter an order (a) granting interim allowance of

compensation for professional services rendered by JW during the Application Period in the

amount of $371,360.50, (b) granting reimbursement of actual and necessary expenses incurred by

JW during the Application Period in the amount of $4,828.85, (c) authorizing the Debtors to pay

the fees and expenses to JW as requested for the Application Period, and (d) granting such other

and further relief as is just and proper.




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Houston, Texas
Dated: December 6, 2023
                                 /s/ Veronica A. Polnick
                                 JACKSON WALKER LLP
                                 Veronica A. Polnick (TX Bar No. 24079148)
                                 Zachary McKay (TX Bar No. 24073600)
                                 Emily Meraia (TX Bar No. 24129307
                                 Courtney L. Cameron (TX Bar No. 24126882)
                                 1401 McKinney Street, Suite 1900
                                 Houston, TX 77010
                                 Telephone: (713) 752-4200
                                 Facsimile:     (713) 752-4221
                                 Email: vpolnick@jw.com
                                 Email: zmckay@jw.com
                                 Email: emeraia@jw.com
                                 Email: ccameron@jw.com

                                 Counsel to the Debtors and Debtors in Possession




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                               CERTIFICATE OF SERVICE

        I hereby certify that on the 6th day of December 2023, a copy of the foregoing was served
via the Court’s ECF system upon all parties receiving notice through same.

                                            /s/ Veronica A. Polnick
                                            Veronica A. Polnick




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                            Exhibit A

                      Detailed Record of Fees
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Date       Timekeeper        Hours    Amount                      Description

Case Administration:
07/27/23   V. Polnick          13.0     9,750.00 File case and pleadings.
07/27/23   C. Cameron           3.2     1,712.00 Review and prepare first day motions for filing
                                                 following bankruptcy filing.
07/27/23   E. Flynn Meraia      3.3     1,864.50 Prepare first day motions for filing (1.5);
                                                 conference and correspond with JW team re
                                                 same (.8); review same (1.0).
07/28/23   V. Polnick          14.0    10,500.00 Prepare for (12.5) and attend first day hearing
                                                 (1.5).
07/28/23   C. Cameron           6.4     3,424.00 Attend first day hearing (1.5); meet with team
                                                 regarding same and go forward strategy (4.9).
07/28/23   E. Flynn Meraia      4.7     2,655.50 Draft, revise w/e list, hearing agenda, and notice
                                                 of hearing (1.0); assist with hearing preparation
                                                 (1.6); conference and correspond with JW team
                                                 re same (1.0); attend first day hearing (partial)
                                                 (1.1).
07/28/23   J. Gonzalez          2.7     1,444.50 Prepare first day presentation.
07/28/23   D. Trevino           6.0     1,440.00 Communicate with team regarding various Ch V
                                                 deadlines, calendar placeholders (1.0);
                                                 Communicate with team regarding various first
                                                 day pleadings, compiled and prepare for filing
                                                 (4.5); Calendar related dates and deadlines (.5).
07/28/23   D. Trevino           1.5       360.00 Attend first day hearing.
07/31/23   V. Polnick           5.0     3,750.00 First day hearing follow up (2.2); discussions
                                                 internally and with client re next steps and
                                                 process going forward (2.8).
07/31/23   E. Flynn Meraia      5.5     3,107.50 Assist with post-filing workstreams re first day
                                                 pleadings (4.2); correspond with JW team re
                                                 same (1.3).
08/01/23   E. Flynn Meraia      0.6       339.00 Telephone conference with JW team re works in
                                                 progress.
08/04/23   D. Trevino           0.1        24.00 Communicate with J. Pupo regarding various
                                                 dates and deadlines and collective calendar.
08/04/23   D. Trevino           0.2        48.00 Compile and prepare for filing the notice of
                                                 commencement (.1) Coordinate service (.1)
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Date       Timekeeper        Hours    Amount                      Description
08/08/23   V. Polnick           1.0      750.00 Internal discussion re service of notice of
                                                commencement.
08/08/23   V. Polnick           1.5     1,125.00 Correspond re various case deadlines and open
                                                 items.
08/08/23   E. Flynn Meraia      0.3      169.50 Correspond with Company, Stretto re service.
08/09/23   Z. McKay             1.4      980.00 Communications with subchapter 5 trustee. (.3)
                                                Communications with the US Trustee. (.5) Work
                                                on issues with IP litigation. (.6)
08/10/23   V. Polnick           1.0      750.00 Correspond re various case deadlines and open
                                                items.
08/10/23   D. Trevino           0.1        24.00 Compile and prepare for filing the amended
                                                 notice of top 30 creditors.
08/11/23   V. Polnick           2.0     1,500.00 Coordinate with JW team on all open
                                                 workstreams (.9); discuss various settlements
                                                 with interested parties (1.1).
08/11/23   Z. McKay             4.1     2,870.00 Prepare for and attend WIP meeting. (.6) Work
                                                 on subchapter 5 issues. (3) Communications with
                                                 subchapter 5 trustee. (.5).
08/11/23   V. Emery             1.5      802.50 Draft responses and objections to Requests for
                                                Production.
08/11/23   E. Flynn Meraia      0.5      282.50 Telephone conference with JW team re works in
                                                progress.
08/14/23   Z. McKay             0.7      490.00 Communication with subchapter v trustee.
08/16/23   Z. McKay             3.5     2,450.00 Subchapter V trustee objection, matters. (1.5)
                                                 Work on case strategy. (2)
08/16/23   C. Cameron           0.6      321.00 Call with team to discuss current case status.
08/16/23   E. Flynn Meraia      0.5      282.50 Telephone conference with JW team re case
                                                status.
08/17/23   C. Cameron           0.2      107.00 Prepare file of first day motions and orders.
08/18/23   V. Polnick           2.0     1,500.00 Work to reset second day hearing.
08/18/23   D. Trevino           0.7      168.00 Draft notice of reset of second day hearing (.5)
                                                Compile and prepare for filing (.1) Coordinate
                                                service (.1)
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Date        Timekeeper        Hours    Amount                       Description
08/22/23    C. Cameron           0.5      267.50 Confer with company regarding scheduling and
                                                 other administrative matters and coordinate
                                                 schedules regarding the same.
08/23/23    V. Polnick           0.5      375.00 Attend internal WIP meeting.
08/28/23    Z. McKay             1.0      700.00 Prepare for (.5) and attend WIP meeting (.5).
08/28/23    C. Cameron           0.5      267.50 Call with team regarding ongoing work streams.
08/28/23    E. Flynn Meraia      0.5      282.50 Telephone conference with JW team re works in
                                                 progress
08/28/23    J. Pupo              1.0      230.00 Participate in case progress meeting (.5);
                                                 calendar deadlines (.5).
09/08/23    C. Cameron           2.5     1,337.50 Call with team to discuss stipulation hearing.
09/11/23    C. Cameron           1.6      856.00 Draft Subchapter V Status Report.
09/12/23    V. Polnick           0.5      375.00 Call with WTI counsel.
09/12/23    D. Trevino           0.2        48.00 Review and prepare for filing the notice of reset
                                                  hearing on second day (.1) Coordinate service
                                                  (.1)
09/19/23    V. Polnick           0.6      450.00 Attend team WIP.
09/19/23    C. Cameron           0.6      321.00 Call with team to discuss ongoing workstreams.
09/19/23    E. Flynn Meraia      0.8      452.00 Telephone conference with JW team re works in
                                                 progress (.5); conference with C. Cameron re
                                                 same (.1); correspond with JW team re same (.2)
09/25/23    V. Polnick           0.5      375.00 Group update and status call with client.
09/25/23    V. Polnick           0.5      375.00 Participate in team WIP call.
09/27/23    V. Polnick           0.4      300.00 Call with client to discuss case status.
09/27/23    V. Polnick           2.0     1,500.00 Review and revise equity pitch deck.
09/27/23    Z. McKay             0.7      490.00 Prepare for (.3) and participate in client update
                                                 call (.4).
09/27/23    C. Cameron           0.5      267.50 Call with company and independent director to
                                                 discuss open matters.
09/28/23    Z. McKay             6.3     4,410.00 Work on response to designation objection.
09/28/23    D. Trevino           0.3        72.00 First draft of response to the objection of the
                                                  trustee to subchapter V designation.
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Date        Timekeeper        Hours    Amount                      Description
09/29/23    Z. McKay             5.5     3,850.00 Work on response to designation objection.
09/29/23    C. Cameron           1.8      963.00 Review and revise response to UST objection to
                                                 small business designation.
09/30/23    Z. McKay             0.4      280.00 Multiple communications re designation matter.
10/02/23    V. Polnick           0.3      244.50 Provide case status update to client.
10/03/23    Z. McKay             1.0      725.00 Prepare for and attend client call.
10/03/23    M. Ghyas             0.2      103.00 Conference with V. Polnick re case management
                                                 (.1); review correspondence regarding edits to
                                                 Disclosure Schedules (.1).
10/12/23    V. Polnick           0.7      570.50 Respond to UST re designation hearing.
10/17/23    M. Ghyas             0.5      257.50 Reviewed case materials from C. Cameron (.2);
                                                 review correspondence between parties
                                                 regarding outstanding items (.3).
10/18/23    V. Emery             0.4      234.00 Conduct review and analysis of Candy Club
                                                 intellectual property assets.
10/18/23    M. Ghyas             0.3      154.50 Correspondence with team regarding case
                                                 materials (.2); review case documents for
                                                 outstanding items (.1).
10/18/23    M. Ghyas             0.7      360.50 Conference with Z. McKay and correspondence
                                                 with V. Polnick re outstanding items.
10/18/23    M. Ghyas             0.3      154.50 Correspondence with T. Emery re USPTO
                                                 search for registered marks.
10/19/23    M. Ghyas             1.0      515.00 Correspondence with client; with lender
                                                 regarding outstanding items
10/23/23    V. Polnick           0.7      570.50 Coordinate mediation and other cases
                                                 administrative tasks.
10/24/23    E. Flynn Meraia      0.4      254.00 Telephone conference with JW team re works in
                                                 progress.
10/24/23    M. Ghyas             0.4      206.00 Conference with V. Polnick, Z. McKay, E.
                                                 Meraia re schedule and case management
                                                 strategy (.4)
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Date         Timekeeper        Hours    Amount                      Description
10/25/23     Z. McKay             2.4     1,740.00 Prepare for and lead call with UST attorney (.9)
                                                   Strategy communications with debtor team. (1.0)
                                                   Communications re mediation with WTI and
                                                   others. (.5)
10/26/23     Z. McKay             0.8       580.00 Review deposition notice. (.3) Communications
                                                   re mediation. (.3) Communication re bar date
                                                   notice. (.2)

Total Case Administration       127.6   $ 80,505.00
Reporting:
08/07/23     Z. McKay             1.5     1,050.00 Prepare for and attend meeting with debtor re
                                                   SOFA, Schedules.
08/07/23     E. Flynn Meraia      1.1       621.50 Telephone conference with Stretto, Company re
                                                   schedules and statements.
08/11/23     C. Cameron           2.0     1,070.00 Call with team to discuss ongoing work streams
                                                   (0.7); prepare Initial Debtor Interview Report
                                                   and questions for answering by the company
                                                   (0.8); correspond with company regarding notice
                                                   parties (0.5).
08/12/23     Z. McKay             5.7     3,990.00 Work on response to UST inquiry.
08/14/23     V. Polnick           2.0     1,500.00 Call w/ T. Howley (.5), prepare for IDI (1.0),
                                                   revise response to UST (.5)
08/14/23     Z. McKay             4.5     3,150.00 Work on UST inquiry.
08/14/23     C. Cameron           3.1     1,658.50 Call with company to prepare for IDI (1.0);
                                                   review (1.6); provide comment to IDI report and
                                                   correspond with company regarding revisions to
                                                   same (.5).
08/14/23     E. Flynn Meraia      0.7       395.50 Telephone conference with Company re IDI (.5);
                                                   correspond with C. Cameron re same (.2)
08/15/23     V. Polnick           2.0     1,500.00 Attended IDI (.5), internal discussion re IDS
                                                   (1.5)
08/15/23     Z. McKay             2.0     1,400.00 Review IDI, prepare for meeting.
08/15/23     C. Cameron           0.6       321.00 Attend IDI with company.
08/15/23     E. Flynn Meraia      1.0       565.00 Attend IDI (.5); correspond re same (.5)
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Date        Timekeeper        Hours    Amount                      Description
08/17/23    C. Cameron           2.2     1,177.00 Prepare summary of reporting requirements
                                                  (1.9); Review questions regarding SOFAs and
                                                  schedules and provide answers to same (0.3).
08/17/23    E. Flynn Meraia      0.6      339.00 Correspond re schedules & statements.
08/18/23    V. Polnick           1.0      750.00 Participate in call re Schedule and statements.
08/18/23    Z. McKay             0.5      350.00 Participate in conference call with Stretto re
                                                 schedules and statements.
08/18/23    C. Cameron           0.9      481.50 Call with team regarding schedules and SOFAs.
08/18/23    E. Flynn Meraia      0.9      508.50 Conference and correspond re schedules &
                                                 statements.
08/19/23    C. Cameron           0.3      160.50 Review Monthly Operating Report and provide
                                                 comments to client.
08/21/23    C. Cameron           2.5     1,337.50 Review and revise Monthly Operating Reports
                                                  (1.3); confer with team regarding same (1.2).
08/23/23    C. Cameron           0.2      107.00 Confer with company and UST regarding bank
                                                 statements.
08/28/23    V. Polnick           4.0     3,000.00 Review and revise schedules and statements with
                                                  Stretto team.
08/28/23    C. Cameron           0.8      428.00 Review SOFAs and schedules for filing.
08/28/23    J. Pupo              0.7      161.00 Prepare for filing of SOFA and Schedules
08/31/23    C. Cameron           0.8      428.00 Review questions provided by UST to schedules
                                                 and SOFAs and prepare draft responses to same.
09/01/23    C. Cameron           0.8      428.00 Review and address questions presented by UST
                                                 related to schedules.
09/05/23    D. Trevino           0.3       72.00 Circulate as filed copies of schedules/SOFA.
09/07/23    C. Cameron           0.3      160.50 Review Monthly Operating Reports.
09/19/23    C. Cameron           0.8      428.00 Prepare requested edits for revised schedules.
09/20/23    C. Cameron           0.1       53.50 Correspond with team regarding amended
                                                 schedule matters.
09/28/23    C. Cameron           0.5      267.50 Revise insurance report for distribution to UST.
09/28/23    C. Cameron           0.8      428.00 Prepare amended schedules for review and
                                                 completion by client.
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Date        Timekeeper        Hours    Amount                      Description
10/02/23    C. Cameron           0.6       351.00 Provide comment to amended Schedules.
10/05/23    C. Cameron           0.4       234.00 Final review of amended schedules (0.2); review
                                                  Monthly Operating Reports for filing (0.2).
10/06/23    C. Cameron           0.1        58.50 Distribute bank statements to US Trustee.
10/09/23    C. Cameron           0.9       526.50 Review final amended schedules for filing (0.1);
                                                  confer with Stretto regarding same (0.1); revise
                                                  amended schedules (0.6); distribute tax returns to
                                                  IRS representative (0.1).
10/09/23    D. Trevino           0.7       175.00 Edits to the schedules, compiled and circulate to
                                                  C. Cameron (.2) Compile and prepare amended
                                                  schedules for filing (.4) Coordinate service (.1)
10/17/23    C. Cameron           0.2       117.00 Review Taxes reporting and share same with the
                                                  US Trustee.
10/24/23    M. Ghyas             0.9       463.50 Review internal memo re upcoming monthly
                                                  deadlines and reporting requirements.

Total Reporting                 49.0   $ 30,212.50
Meetings of and Communications with Creditors:
08/02/23    E. Flynn Meraia      0.7       395.50 Telephone conference with creditor re case
                                                  inquiries.
08/03/23    Z. McKay             2.5     1,750.00 Communications with creditors. (1.0)
                                                  Communications with client re current issues.
                                                  (1.5)
08/03/23    E. Flynn Meraia      0.5       282.50 Telephone conference with creditor re case
                                                  inquiries (.2); correspond re same (.3)
08/18/23    D. Trevino           0.2        48.00 Communicate with team regarding the NetSuite
                                                  Oracle call.
08/23/23    C. Cameron           0.4       214.00 Confer with client regarding notifications of past
                                                  due invoices (0.2); coordinate 341 meeting
                                                  scheduling (0.2).
08/28/23    Z. McKay             0.3       210.00 Prepare for and attend 341 meeting.
08/28/23    C. Cameron           0.2       107.00 Prepare notice of reset of 341 meeting.
09/04/23    C. Cameron           0.2       107.00 Further prepare responses to UST questions in
                                                  preparation of 341 meeting.
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Date        Timekeeper      Hours     Amount                       Description
09/05/23    V. Polnick          2.0     1,500.00 Prepare for (.5) and attend 341 meeting of
                                                 creditors (1.5).
09/05/23    C. Cameron          1.5       802.50 Attend 341 meeting (1.4); confer with team
                                                 regarding same (0.1).
09/07/23    C. Cameron          0.2       107.00 Call with creditor regarding case status and filed
                                                 claim.
09/13/23    C. Cameron          0.2       107.00 Call with City National Bank counsel.
Total Meetings of and           8.9    $ 5,630.50
Communications with
Creditors
Fee/Employment Applications:
08/08/23    D. Trevino          2.5       600.00 Draft JW retention application.
08/09/23    D. Trevino          2.3       552.00 Continued draft for the JW retention application.
08/28/23    V. Polnick          1.0       750.00 Revise JW retention application.
08/28/23    C. Cameron          2.5     1,337.50 Review and revise retention application.
08/29/23    C. Cameron          0.6       321.00 Review and revise retention application.
09/20/23    V. Polnick          1.4     1,050.00 Communicate with UST re: Motion to Seal (.3);
                                                 Preview and revise retention application (1.1)
09/20/23    C. Cameron          1.5       802.50 Draft Supplemental Declaration and review list
                                                 of supplemented parties (0.8); prepare motion to
                                                 seal (0.7).
09/20/23    D. Trevino          2.3       552.00 Draft supplemental declaration of V. Polnick
                                                 regarding the JW retention application (.9);
                                                 Create schedules to be filed under seal, circulate
                                                 internally (.9) First draft of Motion to File Under
                                                 Seal (.5)
09/21/23    V. Polnick          0.2       150.00 Draft motion to seal.
09/21/23    C. Cameron          0.8       428.00 Review final drafts of supplemental declaration,
                                                 motion to seal, and conflicts party list.

Total Fee/Employment           15.1    $ 6,543.00
Applications
(Client Defined):
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Date        Timekeeper      Hours    Amount                      Description
08/08/23    L. Peschel         0.8       620.00 Analyze pleadings; discuss case status with
                                                Keith Cohn.
08/09/23    L. Peschel         0.5       387.50 Correspond with Keith Cohn regarding
                                                recommendation for trade dress case; correspond
                                                with current Candy Club counsel in trade dress
                                                case.
08/10/23    L. Peschel         1.1       852.50 Discuss case status with Strook; correspond with
                                                client regarding case strategy.
08/11/23    L. Peschel         2.6     2,015.00 Draft interrogatory responses; correspond with
                                                local counsel regarding service; call and
                                                correspond with opposing counsel regarding
                                                extension.
08/17/23    L. Peschel         1.1       852.50 Draft pro hac vice application form and proposed
                                                order in accordance with the requirements of the
                                                Central District of California in order to appear
                                                as counsel.

Total (Client Defined)         6.1    $ 4,727.50
Non-Working Travel:
07/28/23    C. Cameron         2.0     1,070.00 Travel home from filing and first day hearing.
                                                (Billed at half)

Total Non-Working Travel       2.0    $ 1,070.00
Business Operations:
07/31/23    C. Cameron         2.3     1,230.50 Prepare email correspondence re critical vendors
                                                motion (0.8); correspond with executives
                                                regarding same (0.4); correspond with company
                                                regarding vendor issues (0.3); call with team to
                                                discuss ongoing workstreams (0.5); call with V.
                                                Polnick to discuss vendor's motion (0.3).
08/01/23    C. Cameron         4.4     2,354.00 Correspond with team and company regarding
                                                vendor issues (3.2); perform further diligence on
                                                company and related company contracts (1.2).
08/02/23    C. Cameron         4.6     2,461.00 Perform contract diligence to determine active
                                                contracts (0.9); revise Vendor's Motion and
                                                related exhibits and confer with team and
                                                company regarding same (3.7).
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Date        Timekeeper        Hours    Amount                      Description
08/03/23    C. Cameron           4.2     2,247.00 Review license agreement (0.2); prepare for and
                                                  attend call with vendor (0.6); revise vendors
                                                  motion (0.2); call with N. Giradano to discuss
                                                  vendor topics (0.3); correspond with team
                                                  regarding vendors issues and review agreements
                                                  related to same (0.5); prepare notice of
                                                  commencement (0.3); conduct further diligence
                                                  on material contracts, vendor claims, and
                                                  executory contracts (2.1).
08/04/23    Z. McKay             3.6     2,520.00 Communications with client re wire timeline for
                                                  adequate protection and vendor payments (.7);
                                                  Communications with client re vendor issues
                                                  (1.0); Work on critical vendor issues (.8);
                                                  Attention to notice of commencement (1.1).
08/04/23    C. Cameron           3.1     1,658.50 Revise vendors motion (1.4); correspond with
                                                  team regarding same (.4); call with K. Cohn to
                                                  discuss vendors communications (0.3); call with
                                                  R. Saraceni to discuss schedules (0.1); call with
                                                  Strook attorney to discuss trademark case and
                                                  confer with team regarding same (0.4); revise
                                                  Notice of Commencement and prepare for filing
                                                  (0.5).
08/07/23    Z. McKay             2.5     1,750.00 Work on critical vendor motion.
08/07/23    C. Cameron           2.9     1,551.50 Revise critical vendors motion in accordance
                                                  with comments from team (1.8); draft
                                                  declaration related to same (1.1).
08/08/23    Z. McKay             4.5     3,150.00 Work on critical vendor motion.
08/08/23    C. Cameron           2.9     1,551.50 Call with Z. McKay to discuss vendor's motion
                                                  (0.5); further revise vendor's motion (1.5);
                                                  perform further diligence related to vendors and
                                                  outstanding contracts (0.9).
08/08/23    E. Flynn Meraia      0.7      395.50 Telephone conference with Z. McKay re vendors
                                                 motion.
08/08/23    D. Trevino           0.6      144.00 Compile and prepare for filing the emergency
                                                 vendors motion and supporting declaration (.3)
                                                 Coordinate service (.1) Draft witness and exhibit
                                                 list for hearing (.2)
08/09/23    Z. McKay             0.8      560.00 Attend critical vendor hearing.
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Date        Timekeeper        Hours    Amount                     Description
08/09/23    C. Cameron           0.3      160.50 Attend hearing on vendor's motion.
08/09/23    E. Flynn Meraia      1.6      904.00 Attend hearing re vendors motion (.3); prepare re
                                                 same (1.2); telephone conference with C.
                                                 Cameron re same (.1).
08/09/23    D. Trevino           0.6      144.00 Compile and prepare for filing the witness and
                                                 exhibit list for Critical Vendors hearing (.3)
                                                 Compiling and prepare for filing the revised
                                                 Critical Vendors Order (.1) Attend hearing on
                                                 critical vendors motion (.2)
08/10/23    Z. McKay             2.2     1,540.00 Communication re critical vendors.
08/10/23    C. Cameron           1.4      749.00 Confer with team and company regarding vendor
                                                 issues (0.4); Prepare summary of reporting
                                                 obligations (1.0).
08/11/23    C. Bristow           0.5      372.50 Correspond re vendor motion and interview
                                                 questions with US Trustee.
08/11/23    Z. McKay             1.0      700.00 Work on critical vendor issues.
08/14/23    C. Cameron           1.3      695.50 Call with vendor re case status (0.4); correspond
                                                 with vendors and review contracts related to
                                                 same (0.9).
08/14/23    C. Cameron           0.2      107.00 Correspond with insurance regarding notice of
                                                 changes to coverage.
08/15/23    C. Cameron           0.1       53.50 Correspond with company and vendors
                                                 regarding ongoing vendor issues.
08/18/23    C. Cameron           0.3      160.50 Call with vendor to discuss ongoing relationship.
09/13/23    Z. McKay             0.9      630.00 Work on cash management issue.
09/13/23    C. Cameron           0.2      107.00 Correspond with company regarding vendor
                                                 payments made (0.1);. draft correspondence to
                                                 UST and Sub V Trustee regarding same (0.1).
09/19/23    Z. McKay             1.2      840.00 Work on cash management issues.
09/22/23    M. Hughes            0.4      160.00 Coordinate certified entity documents from four
                                                 entities from respective secretaries of state.
09/25/23    Z. McKay             1.0      700.00 Attention to credit card issue with regard to cash
                                                 management order.
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Date        Timekeeper        Hours    Amount                      Description
09/25/23    E. Flynn Meraia      1.5       847.50 Telephone conference with Company re hearing
                                                  (.5); telephone conference with team re same;
                                                  (.3); revise cash management order (.5); attend
                                                  hearing re same (.2).
09/26/23    M. Hughes            0.4       160.00 Follow up on certified entity documents (.1);
                                                  receipt, analysis and indexing of entity
                                                  documents for four entities (.3).
09/28/23    E. Flynn Meraia      0.3       169.50 Correspond re insurance reporting.
09/29/23    C. Cameron           0.2       107.00 Revise Insurance Report and share with UST.
10/30/23    Z. McKay             0.5       362.50 Work on insurance update and deposition
                                                  location information per UST request.

Total Business Operations       53.2   $ 31,243.50
Financing/Cash Collections:
07/27/23    C. Bristow           2.5     1,862.50 Review due diligence regarding the DIP
                                                  financing, checklist and corporate formalities
                                                  (.8), communications and loan document updates
                                                  (1.0), attend conference calls (.7).
07/27/23    Z. McKay            14.9    10,430.00 Work on DIP issues.
07/28/23    C. Bristow           0.5       372.50 Correspond re DIP and officer's certificate.
07/28/23    Z. McKay            12.5     8,750.00 Prepare for and argue priming DIP hearing. (3.5)
                                                  Negotiation regarding same. (3) Prepare for and
                                                  argue after break priming DIP hearing. (3.5)
                                                  Make edits to documents, communications
                                                  regarding same. (2.5)
07/28/23    C. Cameron           4.3     2,300.50 Meet with team regarding DIP financing (.3);
                                                  continue diligence related to same (4.0).
07/30/23    Z. McKay             0.8       560.00 Work on interim DIP issues.
07/31/23    C. Bristow           0.4       298.00 Review communications regarding DIP order
                                                  and borrowing base discussions, along with the
                                                  inventory discussions and additional Note
                                                  information.
07/31/23    Z. McKay             2.8     1,960.00 Revise DIP order (1.0); Communications re
                                                  witness prep (.8); Prepare for DIP hearing (1.0).
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Date        Timekeeper        Hours    Amount                      Description
07/31/23    C. Cameron           2.9     1,551.50 Review multiple iterations of DIP budget and
                                                  related pleadings (2.5); discuss same with team
                                                  (.4).
07/31/23    D. Trevino           0.4        96.00 Create comparison document for DIP order,
                                                  compile and prepare for filing (.2); communicate
                                                  with chambers regarding same (.2).
08/01/23    C. Bristow           2.2     1,639.00 Attend conference call on WIP (.6); attend
                                                  conference call re witness prep (.4) review
                                                  extensive communications surrounding DIP
                                                  budget and responses (1.2).
08/01/23    V. Polnick           9.0     6,750.00 Prepare for DIP hearing including negotiation
                                                  with parties in interest and witness preparation.
08/01/23    V. Polnick          10.0     7,500.00 Follow up IDI setting (.2); follow up re IDS
                                                  subordination (2.0); WTI settlement discussions
                                                  regarding subordination (3.8), adequate
                                                  protection (.5), and terms of DIP Order (1.2),
                                                  Gemcap term sheet discussions (1.4), Barry
                                                  direct exam prep for continued DIP hearing (.9).
08/01/23    Z. McKay            14.3    10,010.00 Prepare for second interim DIP hearing.
08/01/23    D. Trevino           0.4        96.00 Compile and prepare for filing the revised
                                                  Interim DIP order (.3); communicate with
                                                  chambers re same (.1).
08/02/23    C. Bristow           1.2      894.00 Review extensive communications, including
                                                 providing further detail on the fee schedule
                                                 information for the DIP loan documents and
                                                 certain language contained in the Loan
                                                 Agreement.
08/02/23    V. Polnick           9.0     6,750.00 Coordinate and prepare for DIP hearing (5.0),
                                                  negotiated with creditors regarding same (3.5),
                                                  lead DIP hearing (.5).
08/02/23    Z. McKay            10.7     7,490.00 Settlement efforts for DIP hearing (2.7); Prep for
                                                  DIP hearing (6.5); Attend DIP hearing (.5)
                                                  Communications with client following DIP (1.0).
08/02/23    E. Flynn Meraia      0.5      282.50 Attend DIP hearing.
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Date        Timekeeper        Hours    Amount                      Description
08/02/23    D. Trevino           1.0      240.00 Compile further revised Interim DIP Order,
                                                 prepare for filing (.2); attend continued Interim
                                                 DIP hearing (.5); assist with preparation for
                                                 same (.3).
08/03/23    C. Bristow           1.8     1,341.00 Review extensive communications and schedule
                                                  documentation, along with prepayment language
                                                  and the additional funding
08/04/23    C. Bristow           1.0      745.00 Review extensive motion information,
                                                 communications on filings, and documents for
                                                 DIP loan and filings.
08/09/23    Z. McKay             0.5      350.00 Communication with prepetition lender re DIP
                                                 hearing.
08/14/23    Z. McKay             0.8      560.00 Work on final DIP issues.
08/16/23    V. Polnick           2.0     1,500.00 Internal team meeting re DIP negotiation
                                                  strategy and case strategy.
08/17/23    Z. McKay             2.2     1,540.00 Work on Final DIP issues.
08/18/23    Z. McKay             1.0      700.00 Coordinate moving final DIP hearing,
                                                 communications re same.
08/25/23    Z. McKay             4.2     2,940.00 Multiple communications with DIP lender re
                                                  intercreditor agreement (1.0); work on IDS
                                                  issues. (3.2).
09/05/23    Z. McKay             1.4      980.00 Work on exit financing issues.
09/11/23    Z. McKay             3.0     2,100.00 Prepare for DIP hearing.
09/12/23    V. Polnick           0.2      150.00 Correspond with K. Cohn re DIP tranche access.
09/12/23    Z. McKay             2.3     1,610.00 Communication with creditors re IDS and DIP
                                                  hearing getting moved (.4); Communication with
                                                  IDS re IDS stipulation (.1); Prepare for and
                                                  participate in call with prepetition lender (1.8).
09/12/23    C. Cameron           0.5      267.50 Review Notice of Reset for DIP and Cash
                                                 Management hearing.
09/13/23    Z. McKay             1.1      770.00 Work on Final DIP issues.
09/18/23    E. Flynn Meraia      1.3      734.50 Review, revise final DIP order.
09/19/23    E. Flynn Meraia      0.2      113.00 Correspond re final DIP order.
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Date        Timekeeper      Hours    Amount                       Description
09/20/23    Z. McKay           2.5     1,750.00 Communications with UST re subchapter v
                                                designation. (.1) Communications with Sub V
                                                trustee re DIP. (.2) Work on Final DIP order.
                                                (1.2). Participate in strategy/WIP call. (.5)
                                                Circulate final DIP order to all relevant parties.
                                                (.5)
09/21/23    Z. McKay           1.7     1,190.00 Review comments from UST on final DIP order
                                                (.4). Work on review of financial docs for Final
                                                DIP next week (1.3).
09/22/23    V. Polnick         2.5     1,875.00 Review and revise final DIP order.
09/22/23    Z. McKay           3.6     2,520.00 Work with various parties on Final DIP Order
                                                (3.3); Client update call (.3).
09/22/23    C. Cameron         1.7      909.50 Review and revise DIP financing order (1.5);
                                               confer and correspond with the team regarding
                                               same (.2).
09/22/23    W. Farmer          2.3     1,230.50 Review DIP loan agreement and provide
                                                comment to JW team.
09/24/23    Z. McKay           1.5     1,050.00 Work on final changes with Final DIP Order.
09/24/23    C. Cameron         0.7      374.50 Revise Final DIP Order.
09/25/23    C. Bristow         1.2      894.00 Calls to discuss status updates with the hearing
                                               and questions regarding the language in the DIP
                                               loan documents, follow-up email
                                               communications concerning same, review
                                               officer’s certificates and disclosure schedule
09/25/23    V. Polnick         5.0     3,750.00 Prepare for (4.7) and attend (.3) hearing on cash
                                                management and final DIP.
09/25/23    V. Polnick         2.3     1,725.00 Review revised DIP order and various comments
                                                to same (1.6); coordinate entry of same (.7).
09/25/23    V. Polnick         0.8      600.00 Discuss personal guarantee of credit card w/
                                               counsel to CNB and client, amended DIP order
                                               accordingly.
09/25/23    Z. McKay           3.2     2,240.00 Prepare for and participate in update call with
                                                client (1.0); Multiple communications with
                                                various parties re final DIP order language (2.2);
                                                Prepare for (1.4) and attend (.3) hearing on DIP,
                                                status conference for sub V, and final cash
                                                management.
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Date        Timekeeper      Hours    Amount                      Description
09/25/23    C. Cameron         3.5     1,872.50 Call with company to discuss hearing (0.5);
                                                prepare for hearing (1.0), amend motions (1.0),
                                                coordinate filing re same (.2); attend hearing on
                                                cash management, DIP financing, sub V status
                                                conference (0.3); prepare schedules and officer's
                                                certificate related to DIP financing (0.5).
09/25/23    D. Trevino         0.7      168.00 Compile and prepare for filing the final cash
                                               management order and redline (.2) Compile and
                                               prepare for filing the Interim DIP Order (.2)
                                               Attend hearing on final DIP and final Cash
                                               Management (.3)
09/26/23    Z. McKay           0.6      420.00 Communication with client re exit financing and
                                               IDS settlement.
09/27/23    C. Cameron         1.0      535.00 Review and revise form NDA.
09/28/23    V. Polnick         0.7      525.00 Respond to internal DIP financing docs.
10/03/23    C. Cameron         1.1      643.50 Correspond with DIP lender regarding schedules
                                               and certificates (0.6); call with company to
                                               discuss exit financing and same (0.5).
10/05/23    C. Cameron         0.6      351.00 Revise DIP financing schedules (.4) correspond
                                               with team regarding same (.2).
10/06/23    C. Cameron         0.1        58.50 Correspond with K. Cohn and team regarding
                                                non-disclosure agreement.
10/06/23    C. Cameron         0.4      234.00 Correspond with DIP financing counsel
                                               regarding schedules and officer's certificates.
10/10/23    V. Polnick         1.0      815.00 Respond to WTI re offer (.7) discuss placement
                                               of DACA on operating account with
                                               Gemcap(.3).
10/11/23    C. Cameron         0.6      351.00 Revise Officer's Certificates in accordance with
                                               agreed upon language (0.3); correspond with
                                               company regarding DACA for DIP financing
                                               and confer with team regarding same (0.3).
10/13/23    Z. McKay           0.5      362.50 Work on DIP loan doc issues.
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Date        Timekeeper      Hours    Amount                      Description
10/16/23    C. Bristow         1.6     1,360.00 Review communications concerning certain
                                                concepts and calculations in the loan documents
                                                (.3); update loan documents accordingly (.9),
                                                provide feedback on revised documents and
                                                further explanation as to certain concepts within
                                                the documentation (.4).
10/16/23    C. Cameron         0.4      234.00 Correspond with C. Bristow and company
                                               regarding DIP financing documents (0.2);
                                               prepare Officer's Certificates for completion
                                               (0.2).
10/17/23    C. Bristow         1.3     1,105.00 Communications regarding the cap on eligible
                                                inventory and providing the backup language in
                                                the documentation (.6), call with client
                                                discussing this issue (.5), follow-up
                                                communications and provide prepayment terms
                                                to debtor explaining calculations (.2).
10/17/23    V. Polnick         0.5      407.50 Call with client re: borrowing base and other
                                               issues.
10/17/23    C. Cameron         1.4      819.00 Call with M. Berens to discuss DIP financing
                                               documents (0.2); call with Company to discuss
                                               same (0.6); prepare email correspondence
                                               regarding remaining open items for DIP
                                               financing documents (0.6).
10/18/23    C. Bristow         0.5      425.00 Communications concerning the updates to the
                                               loan documents and subordination of $1M
                                               inventory
10/18/23    M. Ghyas           0.5      257.50 Correspondence with GemCap re DIP call (.1);
                                               correspondence with S. Solomon re DIP call (.1);
                                               review documents in preparation for meeting
                                               (.3).
10/19/23    C. Bristow         1.0      850.00 Call with parties discussing the signing of the
                                               DIP documents and subordination (.5), review
                                               update final documents and provide feedback as
                                               to the changes within the loan documents (.5).
10/19/23    V. Polnick         0.5      407.50 Participate in DIP/closing call with GemCap.
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Date        Timekeeper      Hours       Amount                      Description
10/19/23    M. Ghyas            3.3       1,699.50 Correspondence with team and conference with
                                                   V. Polnick re outstanding items needed to
                                                   finalize DIP transaction (.5); meeting with M.
                                                   Berens, M. Taylor, V. Polnick and C. Bristow re
                                                   finalizing process (.5). Reviewed documents sent
                                                   by M. Berens (.5); communicate with client re
                                                   outstanding items re DIP agreement (.2);
                                                   consolidate necessary documents for client
                                                   review (.8); correspondence with C. Britsow re
                                                   finalizing transaction with lender and
                                                   outstanding documents (.3).
10/19/23    M. Ghyas            1.0        515.00 Reviewed correspondence and communicated
                                                  with client regarding outstanding items still
                                                  needed to finalize DIP agreement (.2);
                                                  consolidated necessary documents for client
                                                  review (.8)
10/20/23    C. Bristow          1.0        850.00 Communications regarding the final DIP
                                                  documents and signatures.
10/23/23    C. Bristow          0.4        340.00 Review communications regarding final entity
                                                  documents and DIP loan documents.
10/23/23    Z. McKay            2.5       1,812.50 Attention to subordination agreement issues
                                                   (2.0); communications with WTI re mediation
                                                   (.5).
10/24/23    C. Bristow          0.5        425.00 Review communications with final signed DIP
                                                  loan documents.
10/25/23    C. Bristow          0.5        425.00 Review communications regarding the
                                                  assignment of loan and extension motion (.2);
                                                  review assignment of the loan documentation
                                                  (.3).
10/25/23    M. Ghyas            0.1          51.50 Review correspondence received from third
                                                   party lender.

Total Financing/Cash         180.6 $ 124,662.00
Collections
Claims Administration and Objections:
08/15/23    Z. McKay            1.2        840.00 Work on IDS claim issues.
08/17/23    V. Polnick          2.0       1,500.00 Coordinate w/ various parties re case timeline
                                                   and claim settlement.
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Date        Timekeeper        Hours    Amount                       Description
08/18/23    V. Polnick           3.0     2,250.00 Draft proposal for IDS settlement and obtained
                                                  client approval
08/18/23    Z. McKay             1.5     1,050.00 Analyze IDS claim issues.
08/22/23    V. Polnick           2.0     1,500.00 Monitor existing workstreams including IDS
                                                  settlement and UST follow up.
08/24/23    Z. McKay             2.1     1,470.00 Work on claim settlement.
08/26/23    Z. McKay             2.6     1,820.00 Work on IDS claim issues.
08/27/23    Z. McKay             0.9      630.00 Work on IDS claim issues.
08/28/23    V. Polnick           1.0      750.00 Discuss and manage IDS settlement.
08/28/23    Z. McKay             0.7      490.00 Multiple communications with IDS, DIP Lender
                                                 re lien issues.
08/29/23    V. Polnick           1.0      750.00 Negotiate IDS settlement terms with IDS
                                                 counsel.
08/29/23    Z. McKay             3.4     2,380.00 Work on IDS issue.
08/30/23    Z. McKay             4.9     3,430.00 Work on IDS issue.
08/30/23    D. Trevino           0.4        96.00 First draft of stipulation of the Debtors and
                                                  Integrated Distribution Services.
08/31/23    Z. McKay             0.8      560.00 Work on IDS issues.
09/01/23    V. Polnick           0.5      375.00 Discuss and negotiate IDS stipulation.
09/01/23    Z. McKay             2.2     1,540.00 Work on IDS issues.
09/05/23    Z. McKay             1.8     1,260.00 Work on IDS issues.
09/06/23    V. Polnick           1.5     1,125.00 Negotiate with IDS counsel regarding terms of
                                                  stipulation.
09/07/23    V. Polnick           3.7     2,775.00 Negotiate terms of stipulation and agreed order
                                                  re subordination.
09/07/23    Z. McKay             3.4     2,380.00 Finalize settlement documents with IDS.
09/07/23    Z. McKay             2.8     1,960.00 Prepare for hearing tomorrow re IDS settlement.
09/07/23    E. Flynn Meraia      0.7      395.50 Revise IDS stipulation (.3); correspond re same
                                                 (.4).
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Date        Timekeeper        Hours    Amount                      Description
09/07/23    D. Trevino           0.9      216.00 Review and prepare for filing the Stipulation of
                                                 the Debtors and Integrated Distribution Services
                                                 (.2) Draft notice of hearing regarding same (.5)
                                                 Compile and revised for filing (.1) Coordinate
                                                 service (.1)
09/08/23    V. Polnick           7.0     5,250.00 Prepare for(6.3) and attend (.7) hearing on entry
                                                  of subordination stipulation.
09/08/23    Z. McKay             9.1     6,370.00 Prepare for (8.4) and participate (.7) in IDS
                                                  stipulation hearing.
09/08/23    E. Flynn Meraia      0.7      395.50 Attend hearing re IDS stipulation.
09/08/23    D. Trevino           0.2        48.00 Correspond with client re hearing participation
                                                  and instructions for same.
09/08/23    D. Trevino           0.5      120.00 Create comparison document for stipulation of
                                                 the Debtors and Integrated Distribution Services
                                                 (.3) Compile and prepare for filing (.2)
09/08/23    D. Trevino           0.5      120.00 Attend hearing on stipulation of the Debtors and
                                                 Integrated Distribution Services regarding the
                                                 DIP.
09/10/23    Z. McKay             1.5     1,050.00 Work on IDS stipulation issues.
09/10/23    C. Cameron           0.4      214.00 Revise Stipulation and Agreed Order.
09/11/23    V. Polnick           4.4     3,300.00 Negotiate revised stipulation and worked
                                                  towards entry of same.
09/11/23    Z. McKay             4.7     3,290.00 Work on IDS stipulation issues.
09/11/23    C. Cameron           1.8      963.00 Revise IDS stipulation and agreed order.
09/11/23    D. Trevino           0.3        72.00 Communicate with team regarding revised
                                                  stipulation of the Debtors and IDS, compile and
                                                  prepare for filing.
09/18/23    Z. McKay             1.0      700.00 Follow up work on IDS stipulation.
09/20/23    V. Polnick           0.3      225.00 Correspond with Subchapter V Trustee re IDS
                                                 Stipulation.
09/26/23    V. Polnick           0.1        75.00 Communicate w/ counsel for WTI re WTI claim.
10/03/23    V. Polnick           0.5      407.50 Call with WTI to discuss case status (.5); relay
                                                 WTI offer to client (.2).
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Date        Timekeeper        Hours    Amount                     Description
10/03/23    Z. McKay             0.5      362.50 Prepare for and attend conference call with WTI
                                                 counsel.
10/09/23    Z. McKay             0.5      362.50 Work on review of WTI claim.
10/18/23    M. Ghyas             0.8      412.00 Correspondence with team regarding final WTI
                                                 agreements and pending outstanding items (.2);
                                                 reviewed past agreements and communications
                                                 re same (.6).
10/19/23    Z. McKay             2.2     1,595.00 Review loan documents (1.0); analyze IDS
                                                  subordination issue (1.2).
10/19/23    M. Ghyas             2.4     1,236.00 Review and edit IDF Agreement (.5); conference
                                                  with V. Polnick re same (.2); correspondence
                                                  with S. Solomon re warehouseman agreement
                                                  (.3); correspondence with K. Cohn re
                                                  outstanding items re IDF agreement (.4);
                                                  incorporate comments for S. Solomon re
                                                  outstanding IDF agreement (.3); correspondence
                                                  with Z McKay re IDS agreement (.5);
                                                  correspondence with V Polnick re same (.2).
10/20/23    Z. McKay             0.3      217.50 Analyze subordination issue.
10/20/23    M. Ghyas             0.5      257.50 Correspondence with V. Polnick re outstanding
                                                 items relating to IDS agreement (.2);
                                                 correspondence with M. Berens re same (.1);
                                                 correspondence with K. Cohn re same (.2).
10/23/23    M. Ghyas             0.8      412.00 Correspondence with K. Cohn re IDS agreement
                                                 and finalizing same (.5); correspondence with M.
                                                 Berens, V. Polnick re finalizing IDS agreement
                                                 (.3).
10/23/23    M. Ghyas             0.7      360.50 Call with M. Berens re outstanding documents
                                                 and deadlines relating to execution of IDS
                                                 agreement (.2); review assembled documents for
                                                 release (.3); conference with team re same (.2)
10/27/23    E. Flynn Meraia      1.4      889.00 Revise notice of bar dates.
10/27/23    M. Ghyas             0.4      206.00 Research re bar date (.2); review notice of
                                                 commencement re bar date (.1); draft bar date
                                                 notice filing (.1).
10/27/23    M. Ghyas             0.5      257.50 Draft bar date notice.
10/29/23    Z. McKay             0.2      145.00 Work on notice of claim bar date issue.
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Date        Timekeeper        Hours    Amount                       Description
10/29/23    E. Flynn Meraia      0.3        190.50 Revise notice of bar dates (.1); correspond re
                                                   same (.2).
10/29/23    D. Trevino           0.3         75.00 Review and prepare for filing the corrected
                                                   notice regarding POC deadlines, coordinate
                                                   service.

Total Claims Administration     89.8   $ 61,121.00
and Objections
Plan and Disclosure Statement (including Business Plan):
08/17/23    Z. McKay             1.0        700.00 Work on plan development.
08/22/23    Z. McKay             3.3      2,310.00 Work on plan matters.
08/23/23    Z. McKay             0.4        280.00 Work on plan issues.
09/05/23    D. Trevino           2.5        600.00 Draft shell for the combined plan and DS.
09/06/23    D. Trevino           3.0        720.00 First draft of scheduling DS motion and exhibits.
09/08/23    C. Cameron           0.8        428.00 Draft combined plan and disclosure statement.
09/13/23    C. Cameron           2.3      1,230.50 Draft Plan and Disclosure Statement.
09/14/23    C. Cameron           2.5      1,337.50 Continue draft of plan and disclosure statement.
09/15/23    Z. McKay             0.4        280.00 Communications re plan issues.
09/26/23    E. Flynn Meraia      3.0      1,695.00 Review, revise combined DS and plan (2.8);
                                                   conference with V. Polnick re same (.2)
10/03/23    Z. McKay             0.7        507.50 Work on plan and DS.
10/03/23    C. Cameron           0.2        117.00 Review subchapter V plan requirements.
10/04/23    C. Cameron           1.7        994.50 Revise draft of Plan.
10/05/23    Z. McKay             1.6      1,160.00 Communications re WTI plan treatment.
10/06/23    Z. McKay             0.8        580.00 Work on WTI communications, possible
                                                   mediation efforts (.3); work on plan/DS (.5).
10/06/23    E. Flynn Meraia      5.2      3,302.00 Draft plan of reorganization (4.2); research re
                                                   same (1.0).
10/12/23    Z. McKay             1.5      1,087.50 Work on plan issues.
10/12/23    E. Flynn Meraia      2.8      1,778.00 Draft, revise combined plan of reorganization
                                                   and disclosure statement.
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Date        Timekeeper        Hours    Amount                       Description
10/24/23    Z. McKay             4.7     3,407.50 Work on chapter 11 plan (1.0); Communication
                                                  with WTI (.7); Communication with UST (1.0);
                                                  Communication with client contact (.8); Internal
                                                  WIP meeting re plan status (.5); Work on motion
                                                  to extend plan filing period (.7).
10/24/23    D. Trevino           0.6       150.00 First draft for motion to extend exclusivity.
10/25/23    Z. McKay             2.7     1,957.50 Draft motion to extend time to file plan.
10/25/23    E. Flynn Meraia      0.8       508.00 Review, revise motion to extend plan filing (.4);
                                                  review, revise mediation agreed order (.4).
10/25/23    M. Ghyas             0.4       206.00 Draft stipulation and order re WTI mediation.
10/25/23    M. Ghyas             0.2       103.00 Review motion to extend exclusivity.
10/26/23    M. Ghyas             0.4       206.00 Review agreed motion and order re WTI
                                                  mediation (.3); correspond with team re same
                                                  (.1); correspondence with team regarding
                                                  scheduling mediation with WTI (.1).

Total Plan and Disclosure       43.5   $ 25,645.50
Statement (including
Business Plan)
